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 7
                           UNITED STATES DISTRICT COURT
 8
                        WESTERN DISTRICT OF WASHINGTON
 9
                                       AT TACOMA
10

11   TAWNY BYE,             ) Case No.
12
                            )
     Plaintiff,             ) COMPLAINT
13                          )
14          vs.             )
                            )
15
     REGENT ASSET MANAGEMENT) JURY TRIAL DEMANDED
16   SOLUTIONS, INC.,       )
                            )
17
     Defendant.             )
18

19
                                 I. NATURE OF ACTION
20

21            1. This is an action for damages brought by an individual consumer for
22
     Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. §
23

24
     1692, et seq. (hereinafter “FDCPA”) and of the Revised Code of Washington,
25
     Chapter 19.16, both of which prohibit debt collectors from engaging in abusive,
26

27

28   Complaint - 1                                           Jon N. Robbins
                                                             WEISBERG & MEYERS, LLC
                                                             3877 N. Deer Lake Rd.
                                                             Loon Lake ,WA 99148
                                                             509-232-1882
                                                             866-565-1327 facsimile
                                                             jrobbins@AttorneysForConsumers.com
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 1   deceptive, and unfair practices. Plaintiff further alleges a claim for invasion of
 2
     privacy by intrusion, ancillary to Defendant’s collection efforts.
 3

 4                                    II. JURISDICTION
 5
              2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d).
 6

 7                                      III. PARTIES
 8
              3.     Plaintiff, Tawny Bye, is a natural person residing in the State of
 9
     Washington, County of Pierce, and City of Puyallup.
10

11            4.     Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. §
12
     1692a(3), and a “debtor” as defined by RCW § 19.16.100(11).
13

14            5. At all relevant times herein, Defendant, Regent Asset Management
15
     Solutions, Inc., (“Defendant”) was a company engaged, by use of the mails and
16

17
     telephone, in the business of attempting to collect a “debt” from Plaintiff, as

18   defined by 15 U.S.C. §1692a(5).
19
              6. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §
20

21   1692a(6), and a “licensee,” as defined by RCW § 19.16.100(9).
22
                                IV. FACTUAL ALLEGATIONS
23

24            7. At various and multiple times prior to the filing of the instant complaint,
25
     including within the one year preceding the filing of this complaint, Defendant
26
     contacted Plaintiff in an attempt to collect an alleged outstanding debt.
27

28   Complaint - 2                                                Jon N. Robbins
                                                                  WEISBERG & MEYERS, LLC
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 1   Defendant’s conduct violated the FDCPA and RCW § 19.16 in multiple ways,
 2
     including but not limited to:
 3

 4            a.     Without having received the prior consent of Plaintiff or the express
 5
                     permission of a court of competent jurisdiction, and without it being
                     necessary to effect a post-judgment remedy, communicating with
 6                   Plaintiff's employer other than in the manner prescribed by 15 USC §
 7                   1692b. On October 16, 2009, Defendant sent a fax to Plaintiff's
                     employer. The fax was a communication with a third party that did not
 8
                     comply with the FDCPA's restrictions on such contacts (§ 1692c(b));
 9            b.     In connection with an attempt to collect an alleged debt from Plaintiff,
                     providing the identity of Defendant to a third party without such
10
                     information being expressly requested. Defendant's October 16, 2009,
11                   fax told Plaintiff's employer that the communication was from
12                   Defendant (§ 1692b(1) & § 1692c(b));
              c.     In connection with an attempt to collect an alleged debt from Plaintiff,
13
                     contacting a third party for purposes other than obtaining location
14                   information. Defendant's October 16, 2009, fax requested information
                     (like Plaintiff's pay rate) not related to location information (§ 1692b &
15
                     § 1692c(b)); Failing to provide Plaintiff with the notices required by 15
16                   USC § 1692g, either in the initial communication with Plaintiff, or in
17
                     writing within 5 days thereof. Defendant never provided Plaintiff with
                     the notices required by 15 USC § 1692g(a) (§ 1692g(a)).
18

19            8.        Defendant’s aforementioned activities, set out in paragraph 7, also
20
     constitute an intentional intrusion into Plaintiff’s private places and into private
21

22
     matters of Plaintiff’s life, conducted in a manner highly offensive to a reasonable

23   person. With respect to the setting that was the target of Defendant’s intrusions,
24
     Plaintiff had a subjective expectation of privacy that was objectively reasonable
25

26   under the circumstances.
27

28   Complaint - 3                                                    Jon N. Robbins
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 1            9.      As a result of Defendant’s behavior, detailed above, Plaintiff
 2
     suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,
 3

 4   embarrassment, mental anguish and emotional distress.
 5
                           COUNT I: VIOLATION OF FAIR DEBT
 6
                               COLLECTION PRACTICES ACT
 7

 8            10.     Plaintiff reincorporates by reference all of the preceding paragraphs.
 9
                                     PRAYER FOR RELIEF
10
              WHEREFORE, Plaintiff respectfully prays that judgment be entered
11

12   against the Defendant for the following:
13
                      A.    Declaratory judgment that Defendant’s conduct
14
                            violated the FDCPA;
15
                      B.    Actual damages;
16
                      C.    Statutory damages;
17
                      D.    Costs and reasonable attorney’s fees; and,
18
                      E.    For such other and further relief as may be just and proper.
19

20     COUNT II: VIOLATION OF WASHINGTON COLLECTION AGENCY
21
          ACT, WHICH IS A PER SE VIOLATION OF THE WASHINGTON
22

23
                               CONSUMER PROTECTION ACT
24            11.     Plaintiff reincorporates by reference all of the preceding paragraphs.
25

26

27

28   Complaint - 4                                                  Jon N. Robbins
                                                                    WEISBERG & MEYERS, LLC
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 1
                                    PRAYER FOR RELIEF
 2
              WHEREFORE, Plaintiff respectfully prays that judgment be entered
 3

 4   against the Defendant for the following:
 5
                     A.    Actual damages;
 6
                     B.    Discretionary Treble Damages;
 7
                     C.    Costs and reasonable attorney’s fees,
 8
                     D.    For such other and further relief as may be just and proper.
 9

10    COUNT III: COMMON LAW INVASION OF PRIVACY BY INTRUSION
11
              12.    Plaintiff reincorporates by reference all of the preceding paragraphs.
12

13
                                    PRAYER FOR RELIEF

14            WHEREFORE, Plaintiff respectfully prays that judgment be entered
15
     against the Defendant for the following:
16

17                   A.    Actual damages
18                   B.    Punitive Damages; and,
19                   C.    For such other and further relief as may be just and proper.
20
                     Respectfully submitted this 27th day of January, 2010.
21

22

23
                                               s/Jon N. Robbins
24                                             Jon N. Robbins
25                                             WEISBERG & MEYERS, LLC
                                               Attorney for Plaintiff
26

27

28   Complaint - 5                                                 Jon N. Robbins
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